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 Department of Health and Office of Children
 and Family Services Issue Emergency
 Regulations to Strengthen Medical Exemption
 Process for School Vaccinations
 Emergency Regulations will Prevent Medical Exemptions from
 Being Used for Non-Medical Purposes
 Departments of Health, Education and Office of Children and
 Family Services Release Additional Guidance for Children
 Attending School or Child Care
 ALBANY, N.Y. (August 16, 2019) - The New York State Department of Health and Office of
 Children and Family Services today issued emergency regulations further strengthening and clarifying
 the process by which physicians can grant medical exemptions under the new state law which
 repealed non-medical exemptions for children attending school or child care.

 Effective immediately, physicians who issue medical exemptions will be required to complete the
 applicable medical exemption form approved by the New York State Department of Health or New
 York City Department of Education, which specifically outlines the medical reason(s) that prevent a
 child from being vaccinated. Additionally, the regulations require physicians to outline specific
 justifications for each required vaccine in order to be able to grant an exemption. Previously,
 regulations allowed for a physician to submit a signed statement to schools without having to
 document on an approved form stating why immunization may be detrimental to the child's health.
 The emergency regulations apply to all children statewide, and they continue to require that medical
 exemptions must be reissued annually. By providing clear, evidence-based guidance to physicians
 regarding when immunization may be detrimental to a child's health, this emergency regulation will
 help prevent medical exemptions from being issued for inappropriate reasons.

 New York State Health Commissioner Dr. Howard Zucker said, "These regulations will ensure
 that those who have legitimate medical reasons for not getting vaccinated are still able to obtain
 medical exemptions, while also preventing abuse of this option by those without such medical
 conditions. Immunizations are safe and effective and give children the best protection from serious
 childhood diseases. We will continue to do everything possible to promote public health for all New
 Yorkers, especially our children."

 In addition, the regulations provide further clarity for school districts and child care centers by
 defining what it means to admit or attend these establishments. As such, the Departments of Health,
 State Education and Office of Children and Family Services also released additional guidance for
 schools, child care programs, parents and guardians in order to comply with the new law that repeals
 non-medical exemptions. The guidance document further addresses frequently asked questions




https://www.health.ny.gov/press/releases/2019/2019-08-16_vaccinations_emergency_regu... 2/14/2020
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 regarding the impact the new law has on home-schooled students, school transportation, and students
 with disabilities. This document complements information issued on June 18, 2019 and on July 22,
 2019.

 To help promote vaccination, DOH has launched two public service campaigns. The first PSA
 reminds parents of the new vaccine requirements ahead of the start of school and the second PSA,
 featuring State Health Commissioner Dr. Howard Zucker, discusses the safety and effectiveness of
 vaccines.

 State Education Commissioner MaryEllen Elia said, "Vaccines are the safest and most effective
 way to protect our students from debilitating diseases. NYSED will continue to work with the Health
 Department and Office of Children and Family Services to keep districts, parents and students
 informed on this new law and regulations. I'm grateful for this partnership and for the continued
 services we will provide to New York's students."

 Office of Children and Family Services Commissioner Sheila J. Poole said, "This regulation will
 protect children who medically cannot be vaccinated as well as children who can. It is far better to
 prevent disease with vaccination than to treat a serious illness like the measles, which can be life
 threatening. OCFS has been working with child care providers statewide to inform them of the
 requirements under the updated regulations so that all children enrolled in child care programs will be
 protected from the spread of disease."

 On June 13, 2019, Governor Cuomo signed legislation removing non-medical exemptions from
 school vaccine requirements for children. Under the new law ending all nonmedical vaccine
 exemptions, children who were not previously vaccinated will have 14 days from the first day of
 school to receive the first age appropriate dose in each immunization series, and 30 days from the first
 day of school to schedule follow-up appointments. Parents and guardians must demonstrate that their
 child has appointments scheduled for the next follow-up doses in accordance with the Advisory
 Committee on Immunization Practices (ACIP) schedule. However, the actual appointments for the
 follow-up doses may be more than 30 days out, so long as they are in accordance with the ACIP
 schedule. A list of all required childhood vaccines can be found here.

 The United States is currently experiencing the worst outbreak of measles in more than 25 years, with
 outbreaks in pockets of New York primarily driving the crisis. As a result of non-medical vaccination
 exemptions, many communities across New York have unacceptably low rates of vaccination, and
 those unvaccinated children can often attend school where they may spread the disease to other
 unvaccinated students, some of whom cannot receive vaccines due to medical conditions. This new
 law will help protect the public amid this ongoing outbreak, and in the future.




https://www.health.ny.gov/press/releases/2019/2019-08-16_vaccinations_emergency_regu... 2/14/2020
